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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

                                                     )
 In re:                                              )   Chapter 11
                                                     )
 YELLOW CORPORATION, et al.,1                        )   Case No. 23-11069 (CTG)
                                                     )
                                Debtors.             )   (Jointly Administered)
                                                     )
                                                     )   Re: Docket Nos. 1813, 1843

      SECOND AMENDED2 NOTICE OF AGENDA FOR HEARING SCHEDULED ON
     JANUARY 22, 2024 AT 2:00 P.M. (PREVAILING EASTERN TIME), BEFORE THE
           HONORABLE CRAIG T. GOLDBLATT AT THE UNITED STATES
            BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE,
                   LOCATED AT 824 NORTH MARKET STREET,
         3RD FLOOR, COURTROOM NO. 7, WILMINGTON, DELAWARE 19801


 This proceeding will be conducted in-person. All counsel and witnesses are expected to
 attend unless permitted to appear remotely via Zoom. Please refer to Judge Goldblatt’s
 Chambers Procedures https://ecf.deb.uscourts.gov/cgi-bin/nysbAppearances.pl or on the
 Court’s website at and the Court’s website www.deb.uscourts.gov for information on
 who may participate remotely, the method of allowed participation (video or audio),
 Judge Goldblatt’s expectations of remote participants, and the advance registration
 requirements. Registration is required by 4:00 p.m. (Eastern time) the business day
 before the hearing unless otherwise noticed using the eCourtAppearances tool available
 on the Court’s website.




WITHDRAWN MATTERS:

1.        Automobile Mechanics’ Local No. 701 Union and Industry Pension Fund and the
          Automobile Mechanics’ Local 701 Union and Industry Welfare Fund’s Routine Motion
          for Rule 2004 Examination of the Debtors [Filed: 10/30/23] (Docket No. 993)

          Response Deadline: November 6, 2023 at 4:00 p.m. (ET)


1 A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
  claims and noticing agent at https://dm.epiq11.com/YellowCorporation. The location of Debtors’ principal place
  of business and the Debtors’ service address in these chapter 11 cases is: 11500 Outlook Street, Suite 400,
  Overland Park, Kansas 66211.
2 Amended items are in bold.




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         Responses Received: None.

         Related Documents:

         A.        [Proposed] Order Directing Debtors to Produce Documents in Response to Rule
                   2004 Requests [Filed: 10/30/23] (Docket No. 993, Exhibit 1)

         B.        Notice of Withdrawal of the Automobile Mechanics’ Local No. 701 Union and
                   Industry Pension Fund and the Automobile Mechanics’ Local 701 Union and
                   Industry Welfare Fund’s Routine Motion for Rule 2004 Examination of the
                   Debtors [Filed: 1/4/24] (Docket No. 1587)

         Status: This matter has been withdrawn.

2.       Motion of Steven Hensley for Relief From the Automatic Stay Pursuant to Section 362(d)
         of the Bankruptcy Code [Filed: 12/6/23] (Docket No. 1280)

         Response Deadline: December 20, 2023 at 4:00 p.m. (ET)

         Responses Received: None.

         Related Documents:

         A.        [Proposed] Order Granting Motion of Steven Hensley for Relief From the
                   Automatic Stay Pursuant to Section 362(d) of the Bankruptcy Code [Filed:
                   12/6/23] (Docket No. 1280)

         B.        Notice of Withdrawal of Motion of Steven Hensley for Relief From the
                   Automatic Stay Pursuant to Section 362(d) of the Bankruptcy Code [Filed:
                   12/22/23] (Docket No. 1464)

         Status: This matter has been withdrawn.

RESOLVED MATTERS:

3.       Motion of Corporate Lodging Consultants Inc. and Comdata, Inc., Pursuant to
         Bankruptcy Code Section 362(d), Bankruptcy Rule 4001, and Local Rule 4001-1, for
         Relief From the Automatic Stay to Effectuate Setoff of Security Deposit [Filed: 9/26/23]
         (Docket No. 663)

         Response Deadline: October 10, 2023 at 4:00 p.m. (ET)

         Responses Received: None.

         Related Documents:

         A.        [Proposed] Order Granting Motion of Corporate Lodging Consultants Inc. and
                   Comdata, Inc., Pursuant to Bankruptcy Code Section 362(d), Bankruptcy Rule
                   4001, and Local Rule 4001-1, for Relief From the Automatic Stay to Effectuate

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                   Setoff of Security Deposit [Filed: 9/26/23] (Docket No. 663)

         B.        Certification of Counsel Regarding the Joint Stipulation By and Among the
                   Debtors and Corporate Lodging Consultants Inc. and Comdata Inc. (I) Granting
                   Relief from the Automatic Stay to Effectuate Setoff of Security Deposit and (II)
                   Rejecting Certain Contracts [Filed: 1/10/24] (Docket No. 1725)

         C.        [Signed] Order Approving the Joint Stipulation By and Among the Debtors and
                   Corporate Lodging Consultants Inc. and Comdata Inc. (I) Granting Relief from
                   the Automatic Stay to Effectuate Setoff of Security Deposit and (II) Rejecting
                   Certain Contracts [Filed: 1/17/24] (Docket No. 1769)

         Status: The Court has entered an order on this matter. No hearing is necessary.

4.       Motion for Relief From the Automatic Stay Filed by Tena J. Spence [Filed: 9/28/23]
         (Docket No. 684)

         Response Deadline: October 12, 2023 at 5:00 p.m. (ET)

         Responses Received:

         A.        Omnibus Objection and Reservation of Rights of Creditor Old Republic Insurance
                   Company to Motions for Relief from the Automatic Stay to the Extent of
                   Insurance Proceeds [Filed: 10/12/23] (Docket No. 823)

         B.        Debtors’ Omnibus Objection to Personal Injury Claimant Motions for Relief from
                   the Automatic Stay Under Section 362 of the Bankruptcy Code [Filed: 10/12/23]
                   (Docket No. 827)

         C.        Joinder of the Official Committee of Unsecured Creditors of Yellow Corporation,
                   Et Al., to Debtors’ Omnibus Objection to Personal Injury Claimant Motions for
                   Relief From the Automatic Stay Under Section 362 of the Bankruptcy Code
                   [Filed 10/20/23] (Docket No. 886)

         D.        Debtors’ Amended and Restated Omnibus Objection to Personal Injury Claimant
                   Motions for Relief from the Automatic Stay Under Section 362 of the Bankruptcy
                   Code [Filed: 12/6/23] (Docket No. 1273)

         E.        Debtors’ Second Amended and Restated Omnibus Objection to Personal Injury
                   Claimant Motions for Relief From the Automatic Stay Under Section 362 of the
                   Bankruptcy Code [Filed: 1/11/23] (Docket No. 1730)




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         Related Documents:

         A.        [Proposed] Order Granting Motion for Relief From the Automatic Stay Filed by
                   Tena J. Spence [Filed: 9/28/23] (Docket No. 684, Exhibit C)

         B.        Certification of Counsel Regarding Joint Stipulation By and Among the Debtors,
                   ORIC, and Certain Claimants Holding Settled Personal Injury Claims (I) Granting
                   Relief from the Automatic Stay and (II) Expunging Claims [Filed: 1/16/24]
                   (Docket No. 1766)

         C.        [Signed] Order Approving the Joint Stipulation By and Among the Debtors,
                   ORIC, and Certain Claimants Holding Settled Personal Injury Claims (I)
                   Granting Relief from the Automatic Stay and (II) Expunging Claims [Filed:
                   1/22/24] (Docket No. 1845)

         Status: The Court has entered an order on this matter. No hearing is necessary.

5.       Jacob Bazarov and Tamara Peirova’s Motion for Relief From the Automatic Stay [Filed:
         10/19/23] (Docket No. 878)

         Response Deadline: November 6, 2023 at 4:00 p.m. (ET) (extended until December 5,
         2023 at 4:00 p.m. (ET) for the Debtors)

         Responses Received:

         A.        Omnibus Objection and Reservation of Rights of Creditor Old Republic Insurance
                   Company to Motions for Relief From the Automatic Stay to the Extent of
                   Insurance Proceeds [Filed: 11/9/23] (Docket No. 1106)

         B.        Debtors’ Amended and Restated Omnibus Objection to Personal Injury Claimant
                   Motions for Relief from the Automatic Stay Under Section 362 of the Bankruptcy
                   Code [Filed: 12/6/23] (Docket No. 1273)

         C.        Debtors’ Second Amended and Restated Omnibus Objection to Personal Injury
                   Claimant Motions for Relief From the Automatic Stay Under Section 362 of the
                   Bankruptcy Code [Filed: 1/11/23] (Docket No. 1730)

         Related Documents:

         A.        [Proposed] Order Granting Jacob Bazarov and Tamara Peirova’s Motion for
                   Relief From the Automatic Stay [Filed: 10/19/23] (Docket No. 878)

         B.        Debtors’ Second Amended and Restated Omnibus Objection to Personal Injury
                   Claimant Motions for Relief From the Automatic Stay Under Section 362 of the
                   Bankruptcy Code [Filed: 1/11/23] (Docket No. 1730)

         C.        Certification of Counsel Regarding Joint Stipulation By and Among the Debtors,
                   ORIC, and Certain Claimants Holding Settled Personal Injury Claims (I) Granting


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                   Relief from the Automatic Stay and (II) Expunging Claims [Filed: 1/16/24]
                   (Docket No. 1766)

         D.        [Signed] Order Approving the Joint Stipulation By and Among the Debtors,
                   ORIC, and Certain Claimants Holding Settled Personal Injury Claims (I)
                   Granting Relief from the Automatic Stay and (II) Expunging Claims [Filed:
                   1/22/24] (Docket No. 1845)

         Status: The Court has entered an order on this matter. No hearing is necessary.

CONTINUED MATTERS:

6.       Motion of Brett Groves for Relief From the Automatic Stay to the Extent of Liability
         Insurance Proceeds [Filed: 8/24/23] (Docket No. 334)

         Response Deadline: September 7, 2023, at 4:00 p.m. ET (extended until October 9, 2023
         at 4:00 p.m. ET)

         Responses Received:

         A.        Omnibus Objection and Reservation of Rights of Creditor Old Republic Insurance
                   Company to Motions for Relief from the Automatic Stay to the Extent of
                   Insurance Proceeds [Filed: 10/12/23] (Docket No. 823)

         B.        Debtors’ Omnibus Objection to Personal Injury Claimant Motions for Relief from
                   the Automatic Stay Under Section 362 of the Bankruptcy Code [Filed: 10/12/23]
                   (Docket No. 827)

         C.        Joinder of the Official Committee of Unsecured Creditors of Yellow Corporation,
                   Et Al., to Debtors’ Omnibus Objection to Personal Injury Claimant Motions for
                   Relief From the Automatic Stay Under Section 362 of the Bankruptcy Code
                   [Filed 10/20/23] (Docket No. 886)

         D.        Debtors’ Amended and Restated Omnibus Objection to Personal Injury Claimant
                   Motions for Relief from the Automatic Stay Under Section 362 of the Bankruptcy
                   Code [Filed: 12/6/23] (Docket No. 1273)

         E.        Debtors’ Second Amended and Restated Omnibus Objection to Personal Injury
                   Claimant Motions for Relief From the Automatic Stay Under Section 362 of the
                   Bankruptcy Code [Filed: 1/11/23] (Docket No. 1730)

         Related Documents:

         A.        [Proposed] Order Granting Motion for Relief from the Automatic Stay to the
                   Extent of Liability Insurance Proceeds [Filed: 8/24/23] (Docket No. 334, Exhibit
                   B)




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         B.        [Signed] Order Approving the Joint Stipulation By and Among the Debtors and
                   Brett Groves to (I) Extend the Deadline to Respond to Motion to Lift the
                   Automatic Stay and (II) Extend the Hearing Date Related Thereto [Filed: 9/8/23]
                   (Docket No. 427)

         C.        Notice of Extension of Time to Respond to Motion to Lift the Automatic Stay
                   [Filed: 10/5/23] (Docket No. 777)

         Status: This matter is continued until February 14, 2024, at 10:00 a.m. (ET).

7.       Motion of Myriam Binette for Relief From the Automatic Stay [Filed: 8/28/23] (Docket
         No. 344)

         Response Deadline: September 7, 2023, at 4:00 p.m. ET (extended until October 9, 2023
         at 4:00 p.m. ET)

         Responses Received:

         A.        Debtors’ Omnibus Objection to Personal Injury Claimant Motions for Relief from
                   the Automatic Stay Under Section 362 of the Bankruptcy Code [Filed: 10/12/23]
                   (Docket No. 827)

         B.        Joinder of the Official Committee of Unsecured Creditors of Yellow Corporation,
                   Et Al., to Debtors’ Omnibus Objection to Personal Injury Claimant Motions for
                   Relief From the Automatic Stay Under Section 362 of the Bankruptcy Code
                   [Filed 10/20/23] (Docket No. 886)

         C.        Debtors’ Amended and Restated Omnibus Objection to Personal Injury Claimant
                   Motions for Relief from the Automatic Stay Under Section 362 of the Bankruptcy
                   Code [Filed: 12/6/23] (Docket No. 1273)

         D.        Debtors’ Second Amended and Restated Omnibus Objection to Personal Injury
                   Claimant Motions for Relief From the Automatic Stay Under Section 362 of the
                   Bankruptcy Code [Filed: 1/11/23] (Docket No. 1730)

         Related Documents:

         A.        Notice of Motion of Myriam Binette for Relief from Stay Under Section 362 of
                   the Bankruptcy Code [File: 8/30/23] (Docket No. 364)

         B.        [Signed] Order Approving the Joint Stipulation By and Among the Debtors and
                   Myriam Binette to (I) Extend the Deadline to Respond to Motion to Lift the
                   Automatic Stay and (II) Extend the Hearing Date Related Thereto [Filed: 9/8/23]
                   (Docket No. 429)

         C.        Notice of Extension of Time to Respond to Motion to Lift the Automatic Stay
                   [Filed: 10/5/23] (Docket No. 776)



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         Status: This matter is continued until February 14, 2024, at 10:00 a.m. (ET).

8.       Motion of Paul Clark and Jean Clark for Relief From the Automatic Stay to the Extent of
         Liability Insurance Proceeds [Filed: 8/29/23] (Docket No. 358)

         Response Deadline: September 12, 2023, at 4:00 p.m. ET (extended until October 12,
         2023 at 4:00 p.m. ET)

         Responses Received:

         A.        Omnibus Objection and Reservation of Rights of Creditor Old Republic Insurance
                   Company to Motions for Relief from the Automatic Stay to the Extent of
                   Insurance Proceeds [Filed: 10/12/23] (Docket No. 823)

         B.        Debtors’ Omnibus Objection to Personal Injury Claimant Motions for Relief from
                   the Automatic Stay Under Section 362 of the Bankruptcy Code [Filed: 10/12/23]
                   (Docket No. 827)

         C.        Joinder of the Official Committee of Unsecured Creditors of Yellow Corporation,
                   Et Al., to Debtors’ Omnibus Objection to Personal Injury Claimant Motions for
                   Relief From the Automatic Stay Under Section 362 of the Bankruptcy Code
                   [Filed 10/20/23] (Docket No. 886)

         D.        Debtors’ Amended and Restated Omnibus Objection to Personal Injury Claimant
                   Motions for Relief from the Automatic Stay Under Section 362 of the Bankruptcy
                   Code [Filed: 12/6/23] (Docket No. 1273)

         E.        Debtors’ Second Amended and Restated Omnibus Objection to Personal Injury
                   Claimant Motions for Relief From the Automatic Stay Under Section 362 of the
                   Bankruptcy Code [Filed: 1/11/23] (Docket No. 1730)

         Related Documents:

         A.        [Proposed] Order Granting Motion for Relief From the Automatic Stay to the
                   Extent of Liability Insurance Proceeds [Filed: 8/29/23] (Docket No 358, Exhibit
                   B)

         B.        [Signed] Order Approving the Joint Stipulation By and Among the Debtors and
                   Paul Clark and Jean Clark to (I) Extend the Deadline to Respond to Motion to Lift
                   the Automatic Stay and (II) Extend the Hearing Date Related Thereto [Filed:
                   9/8/23] (Docket No. 428)

         Status: This matter is continued until February 14, 2024, at 10:00 a.m. (ET).

9.       Motion for Relief From Stay [Filed by Dariun Wright] [Filed: 9/8/23] (Docket No. 423)

         Response Deadline: October 16, 2023 at 4:00 p.m. (ET)



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         Responses Received:

         A.        Omnibus Objection and Reservation of Rights of Creditor Old Republic Insurance
                   Company to Motions for Relief from the Automatic Stay to the Extent of
                   Insurance Proceeds [Filed: 10/12/23] (Docket No. 823)

         B.        Debtors’ Omnibus Objection to Personal Injury Claimant Motions for Relief from
                   the Automatic Stay Under Section 362 of the Bankruptcy Code [Filed: 10/12/23]
                   (Docket No. 827)

         C.        Joinder of the Official Committee of Unsecured Creditors of Yellow Corporation,
                   Et Al., to Debtors’ Omnibus Objection to Personal Injury Claimant Motions for
                   Relief From the Automatic Stay Under Section 362 of the Bankruptcy Code
                   [Filed 10/20/23] (Docket No. 886)

         D.        Debtors’ Amended and Restated Omnibus Objection to Personal Injury Claimant
                   Motions for Relief from the Automatic Stay Under Section 362 of the Bankruptcy
                   Code [Filed: 12/6/23] (Docket No. 1273)

         E.        Debtors’ Second Amended and Restated Omnibus Objection to Personal Injury
                   Claimant Motions for Relief From the Automatic Stay Under Section 362 of the
                   Bankruptcy Code [Filed: 1/11/23] (Docket No. 1730)

         Related Documents: None.

         Status: This matter is continued until February 14, 2024, at 10:00 a.m. (ET).

10.      Motion of James Charles Howard for Relief From the Automatic Stay to the Extent of
         Liability Insurance Proceeds [Filed: 9/14/23] (Docket No. 553)

         Response Deadline: September 28, 2023 at 4:00 p.m. (ET)

         Responses Received:

         A.        Omnibus Objection and Reservation of Rights of Creditor Old Republic Insurance
                   Company to Motions for Relief from the Automatic Stay to the Extent of
                   Insurance Proceeds [Filed: 10/12/23] (Docket No. 823)

         B.        Debtors’ Omnibus Objection to Personal Injury Claimant Motions for Relief from
                   the Automatic Stay Under Section 362 of the Bankruptcy Code [Filed: 10/12/23]
                   (Docket No. 827)

         C.        Joinder of the Official Committee of Unsecured Creditors of Yellow Corporation,
                   Et Al., to Debtors’ Omnibus Objection to Personal Injury Claimant Motions for
                   Relief From the Automatic Stay Under Section 362 of the Bankruptcy Code
                   [Filed 10/20/23] (Docket No. 886)




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         D.        Debtors’ Amended and Restated Omnibus Objection to Personal Injury Claimant
                   Motions for Relief from the Automatic Stay Under Section 362 of the Bankruptcy
                   Code [Filed: 12/6/23] (Docket No. 1273)

         E.        Debtors’ Second Amended and Restated Omnibus Objection to Personal Injury
                   Claimant Motions for Relief From the Automatic Stay Under Section 362 of the
                   Bankruptcy Code [Filed: 1/11/23] (Docket No. 1730)

         Related Documents:

         A.        [Proposed] Order Granting Motion for Relief From the Automatic Stay to the
                   Extent of Liability Insurance Proceeds [Filed: 9/14/23] (Docket No. 553, Exhibit
                   B)

         B.        [Signed] Order Approving the Joint Stipulation By and Among the Debtors and
                   James Charles Howard to (I) Extend the Deadline to Respond to Motion to Lift
                   the Automatic Stay and (II) Extend the Hearing ate Related Thereto [Filed:
                   9/28/23] (Docket No. 689)

         Status: This matter is continued until February 14, 2024, at 10:00 a.m. (ET).

11.      Motion of Gary W. Gibby for Relief from the Automatic Stay [Filed: 9/19/23] (Docket
         No. 608)

         Response Deadline: October 3, 2023 at 4:00 p.m. (ET) (extended until October 12, 2023
         at 4:00 p.m. (ET)

         Responses Received:

         A.        Omnibus Objection and Reservation of Rights of Creditor Old Republic Insurance
                   Company to Motions for Relief from the Automatic Stay to the Extent of
                   Insurance Proceeds [Filed: 10/12/23] (Docket No. 823)

         B.        Debtors’ Omnibus Objection to Personal Injury Claimant Motions for Relief from
                   the Automatic Stay Under Section 362 of the Bankruptcy Code [Filed: 10/12/23]
                   (Docket No. 827)

         C.        Joinder of the Official Committee of Unsecured Creditors of Yellow Corporation,
                   Et Al., to Debtors’ Omnibus Objection to Personal Injury Claimant Motions for
                   Relief From the Automatic Stay Under Section 362 of the Bankruptcy Code
                   [Filed 10/20/23] (Docket No. 886)

         D.        Debtors’ Amended and Restated Omnibus Objection to Personal Injury Claimant
                   Motions for Relief from the Automatic Stay Under Section 362 of the Bankruptcy
                   Code [Filed: 12/6/23] (Docket No. 1273)




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         E.        Debtors’ Second Amended and Restated Omnibus Objection to Personal Injury
                   Claimant Motions for Relief From the Automatic Stay Under Section 362 of the
                   Bankruptcy Code [Filed: 1/11/23] (Docket No. 1730)

         Replies Received:

         A.        Reply in Further Support of Motion of Gary W. Gibby for Relief From the
                   Automatic Stay [Filed: 11/8/23] (Docket No. 1058)

         Related Documents:

         A.        [Proposed] Order Granting Motion of Gary W. Gibby for Relief from the
                   Automatic Stay [Filed: 9/19/23] (Docket No 608, Exhibit A)

         B.        [Signed] Order Approving the Joint Stipulation By and Among the Debtors and
                   Gary W. Gibby to (I) Extend the Deadline to respond to Motion to Lift the
                   Automatic Stay and (II) Extend the Hearing Date Related Thereto [Filed: 10/3/23]
                   (Docket No. 747)

         C.        Certification of Counsel Regarding the Joint Stipulation By and Among the
                   Debtors and Gary W. Gibby to (I) Extend the Deadline to respond to Motion to
                   Lift the Automatic Stay and (II) Extend the Hearing Date Related Thereto [Filed:
                   10/3/23] (Docket No. 875)

         Status: This matter is continued until February 14, 2024, at 10:00 a.m. (ET).

12.      Motion of Amer Nasser and Omeira Ulloque for Relief From the Automatic Stay [Filed:
         9/20/23] (Docket No. 615)

         Response Deadline: October 4, 2023 at 4:00 p.m. (ET) (extended until October 12, 2023
         at 4:00 p.m. (ET)

         Responses Received:

         A.        Omnibus Objection and Reservation of Rights of Creditor Old Republic Insurance
                   Company to Motions for Relief from the Automatic Stay to the Extent of
                   Insurance Proceeds [Filed: 10/12/23] (Docket No. 823)

         B.        Debtors’ Omnibus Objection to Personal Injury Claimant Motions for Relief from
                   the Automatic Stay Under Section 362 of the Bankruptcy Code [Filed: 10/12/23]
                   (Docket No. 827)

         C.        Joinder of the Official Committee of Unsecured Creditors of Yellow Corporation,
                   Et Al., to Debtors’ Omnibus Objection to Personal Injury Claimant Motions for
                   Relief From the Automatic Stay Under Section 362 of the Bankruptcy Code
                   [Filed 10/20/23] (Docket No. 886)




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         D.        Debtors’ Amended and Restated Omnibus Objection to Personal Injury Claimant
                   Motions for Relief from the Automatic Stay Under Section 362 of the Bankruptcy
                   Code [Filed: 12/6/23] (Docket No. 1273)

         E.        Debtors’ Second Amended and Restated Omnibus Objection to Personal Injury
                   Claimant Motions for Relief From the Automatic Stay Under Section 362 of the
                   Bankruptcy Code [Filed: 1/11/23] (Docket No. 1730)

         Related Documents:

         A.        [Signed] Order Approving the Joint Stipulation By and Among the Debtors and
                   Amer Nasser and Omeira Ulloque to (I) Extend the Deadline to Respond to
                   Motion to Lift the Automatic Stay and (II) Extend the Hearing Date Related
                   Thereto [Filed: 9/28/23] (Docket No. 688)

         Status: This matter is continued until February 14, 2024, at 10:00 a.m. (ET).

13.      Motion of Paul R. Wyszynski for Relief from the Automatic Stay Pursuant to Section
         362(d) of the Bankruptcy Code [Filed: 9/21/23] (Docket No. 630)

         Response Deadline: October 5, 2023 at 4:00 p.m. (ET) (extended until October 12, 2023
         at 4:00 p.m. (ET)

         Responses Received:

         A.        Omnibus Objection and Reservation of Rights of Creditor Old Republic Insurance
                   Company to Motions for Relief from the Automatic Stay to the Extent of
                   Insurance Proceeds [Filed: 10/12/23] (Docket No. 823)

         B.        Debtors’ Omnibus Objection to Personal Injury Claimant Motions for Relief from
                   the Automatic Stay Under Section 362 of the Bankruptcy Code [Filed: 10/12/23]
                   (Docket No. 827)

         C.        Joinder of the Official Committee of Unsecured Creditors of Yellow Corporation,
                   Et Al., to Debtors’ Omnibus Objection to Personal Injury Claimant Motions for
                   Relief From the Automatic Stay Under Section 362 of the Bankruptcy Code
                   [Filed 10/20/23] (Docket No. 886)

         D.        Debtors’ Amended and Restated Omnibus Objection to Personal Injury Claimant
                   Motions for Relief from the Automatic Stay Under Section 362 of the Bankruptcy
                   Code [Filed: 12/6/23] (Docket No. 1273)

         E.        Debtors’ Second Amended and Restated Omnibus Objection to Personal Injury
                   Claimant Motions for Relief From the Automatic Stay Under Section 362 of the
                   Bankruptcy Code [Filed: 1/11/23] (Docket No. 1730)




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         Related Documents:

         A.        [Proposed] Motion of Paul R. Wyszynski for Relief from the Automatic Stay
                   Pursuant to Section 362(d) of the Bankruptcy Code [Filed: 9/21/23] (Docket No.
                   630)

         B.        [Signed] Order Approving the Joint Stipulation By and Among the Debtors and
                   Paul R. Wyszynski to (I) Extend the Deadline to Respond to Motion to Lift the
                   Automatic Stay and (II) Extend the Hearing Date Related Thereto [Filed: 9/28/23]
                   (Docket No. 687)

         Status: This matter is continued until February 14, 2024, at 10:00 a.m. (ET).

14.      Emily Louro’s Motion for Relief From Automatic Stay [Filed: 9/25/23] (Docket No. 650)

         Response Deadline: November 6, 2023 at 4:00 p.m. (ET)

         Responses Received:

         A.        Omnibus Objection and Reservation of Rights of Creditor Old Republic Insurance
                   Company to Motions for Relief from the Automatic Stay to the Extent of
                   Insurance Proceeds [Filed: 10/12/23] (Docket No. 823)

         B.        Debtors’ Omnibus Objection to Personal Injury Claimant Motions for Relief from
                   the Automatic Stay Under Section 362 of the Bankruptcy Code [Filed: 10/12/23]
                   (Docket No. 827)

         C.        Joinder of the Official Committee of Unsecured Creditors of Yellow Corporation,
                   Et Al., to Debtors’ Omnibus Objection to Personal Injury Claimant Motions for
                   Relief From the Automatic Stay Under Section 362 of the Bankruptcy Code
                   [Filed 10/20/23] (Docket No. 886)

         D.        Debtors’ Amended and Restated Omnibus Objection to Personal Injury Claimant
                   Motions for Relief from the Automatic Stay Under Section 362 of the Bankruptcy
                   Code [Filed: 12/6/23] (Docket No. 1273)

         E.        Debtors’ Second Amended and Restated Omnibus Objection to Personal Injury
                   Claimant Motions for Relief From the Automatic Stay Under Section 362 of the
                   Bankruptcy Code [Filed: 1/11/23] (Docket No. 1730)

         Replies Received:

         A.        Emily Louro’s Reply in Support of Her Motion for Relief From the Automatic
                   Stay [Filed: 10/18/23] (Docket No. 866)




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         Related Documents:

         A.        [Proposed] Order of Emily Louro’s Motion for Relief From Automatic Stay
                   [Filed: 9/25/23] (Docket No. 650)

         B.        Notice of Emily Louro’s Motion for Relief From Automatic Stay [Filed:
                   10/26/23] (Docket No. 961)

         Status: This matter is continued until February 14, 2024, at 10:00 a.m. (ET).

15.      Motion of Jesse Israel Newton for Relief From the Automatic Stay [Filed: 10/3/23]
         (Docket No. 741)

         Response Deadline: October 16, 2023 at 5:00 p.m. (ET)

         Responses Received:

         A.        Omnibus Objection and Reservation of Rights of Creditor Old Republic Insurance
                   Company to Motions for Relief from the Automatic Stay to the Extent of
                   Insurance Proceeds [Filed: 10/12/23] (Docket No. 823)

         B.        Debtors’ Omnibus Objection to Personal Injury Claimant Motions for Relief from
                   the Automatic Stay Under Section 362 of the Bankruptcy Code [Filed: 10/12/23]
                   (Docket No. 827)

         C.        Joinder of the Official Committee of Unsecured Creditors of Yellow Corporation,
                   Et Al., to Debtors’ Omnibus Objection to Personal Injury Claimant Motions for
                   Relief From the Automatic Stay Under Section 362 of the Bankruptcy Code
                   [Filed 10/20/23] (Docket No. 886)

         D.        Debtors’ Amended and Restated Omnibus Objection to Personal Injury Claimant
                   Motions for Relief from the Automatic Stay Under Section 362 of the Bankruptcy
                   Code [Filed: 12/6/23] (Docket No. 1273)

         E.        Debtors’ Second Amended and Restated Omnibus Objection to Personal Injury
                   Claimant Motions for Relief From the Automatic Stay Under Section 362 of the
                   Bankruptcy Code [Filed: 1/11/23] (Docket No. 1730)

         Related Documents:

         A.        [Proposed] Order Granting Motion of Jesse Israel Newton for Relief From the
                   Automatic Stay [Filed: 10/3/23] (Docket No. 741)

         Status: This matter is continued until February 14, 2024, at 10:00 a.m. (ET).

16.      Motion of Susan Degenkolb for Relief from the Automatic Stay Pursuant to Section
         362(d) of the Bankruptcy Code [Filed: 10/6/23] (Docket No. 783)

         Response Deadline: October 20, 2023 at 4:00 p.m. (ET)

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         Responses Received:

         A.        Omnibus Objection and Reservation of Rights of Creditor Old Republic Insurance
                   Company to Motions for Relief from the Automatic Stay to the Extent of
                   Insurance Proceeds [Filed: 10/12/23] (Docket No. 823)

         B.        Debtors’ Omnibus Objection to Personal Injury Claimant Motions for Relief from
                   the Automatic Stay Under Section 362 of the Bankruptcy Code [Filed: 10/12/23]
                   (Docket No. 827)

         C.        Joinder of the Official Committee of Unsecured Creditors of Yellow Corporation,
                   Et Al., to Debtors’ Omnibus Objection to Personal Injury Claimant Motions for
                   Relief From the Automatic Stay Under Section 362 of the Bankruptcy Code
                   [Filed 10/20/23] (Docket No. 886)

         D.        Debtors’ Amended and Restated Omnibus Objection to Personal Injury Claimant
                   Motions for Relief from the Automatic Stay Under Section 362 of the Bankruptcy
                   Code [Filed: 12/6/23] (Docket No. 1273)

         E.        Debtors’ Second Amended and Restated Omnibus Objection to Personal Injury
                   Claimant Motions for Relief From the Automatic Stay Under Section 362 of the
                   Bankruptcy Code [Filed: 1/11/23] (Docket No. 1730)

         Related Documents:

         A.        [Proposed] Order Granting Motion of Susan Degenkolb for Relief from the
                   Automatic Stay Pursuant to Section 362(d) of the Bankruptcy Code [Filed:
                   10/6/23] (Docket No. 783)

         Status: This matter is continued until February 14, 2024, at 10:00 a.m. (ET).

17.      Motion for Relief of the Automatic Stay filed by Kavir Moonilal-Singh [Filed: 10/11/23]
         (Docket No. 812)

         Response Deadline: November 1, 2023 at 4:00 p.m. (ET) (extended until December 5,
         2023 at 4:00 p.m. (ET))

         Responses Received:

         A.        Omnibus Objection and Reservation of Rights of Creditor Old Republic Insurance
                   Company to Motions for Relief from the Automatic Stay to the Extent of
                   Insurance Proceeds [Filed: 10/12/23] (Docket No. 823)

         B.        Debtors’ Amended and Restated Omnibus Objection to Personal Injury Claimant
                   Motions for Relief from the Automatic Stay Under Section 362 of the Bankruptcy
                   Code [Filed: 12/6/23] (Docket No. 1273)




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         C.        Debtors’ Second Amended and Restated Omnibus Objection to Personal Injury
                   Claimant Motions for Relief From the Automatic Stay Under Section 362 of the
                   Bankruptcy Code [Filed: 1/11/23] (Docket No. 1730)

         Related Documents:

         A.        [Proposed] Order Granting Ihab Sulaiman Relief from the Automatic Stay [Filed:
                   10/11/23] (Docket No. 812)

         Status: This matter is continued until February 14, 2024, at 10:00 a.m. (ET).

18.      Motion of William Littral for Relief from the Automatic Stay Pursuant to Section 362(d)
         of the Bankruptcy Code [Filed: 10/13/23] (Docket No. 844)

         Response Deadline: October 27, 2023 at 4:00 p.m. (ET) (extended until December 5,
         2023 at 4:00 p.m. (ET))

         Responses Received:

         A.        Debtors’ Amended and Restated Omnibus Objection to Personal Injury Claimant
                   Motions for Relief from the Automatic Stay Under Section 362 of the Bankruptcy
                   Code [Filed: 12/6/23] (Docket No. 1273)

         B.        Debtors’ Second Amended and Restated Omnibus Objection to Personal Injury
                   Claimant Motions for Relief From the Automatic Stay Under Section 362 of the
                   Bankruptcy Code [Filed: 1/11/23] (Docket No. 1730)

         Related Documents:

         A.        [Proposed] Order Granting Motion of William Littral for Relief from the
                   Automatic Stay Pursuant to Section 362(d) of the Bankruptcy Code [Filed:
                   10/13/23] (Docket No. 844)

         Status: This matter is continued until February 14, 2024, at 10:00 a.m. (ET).

19.      Motion of Shane Snider and Carla Maria Snider for Relief from the Automatic Stay
         Pursuant to Section 362(d) of the Bankruptcy Code [Filed: 10/30/23] (Docket No. 991)

         Response Deadline: November 13, 2023 at 4:00 p.m.

         Responses Received:

         A.        Debtors’ Amended and Restated Omnibus Objection to Personal Injury Claimant
                   Motions for Relief from the Automatic Stay Under Section 362 of the Bankruptcy
                   Code [Filed: 12/6/23] (Docket No. 1273)

         B.        Debtors’ Second Amended and Restated Omnibus Objection to Personal Injury
                   Claimant Motions for Relief From the Automatic Stay Under Section 362 of the
                   Bankruptcy Code [Filed: 1/11/23] (Docket No. 1730)

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         Related Documents:

         A.        [Proposed] Order Granting Motion of Shane Snider and Carla Maria Snider for
                   Relief from the Automatic Stay Pursuant to Section 362(d) of the Bankruptcy
                   Code [Filed: 10/30/23] (Docket No. 991)

         Status: This matter is continued until February 14, 2024, at 10:00 a.m. (ET).

20.      Motion of Edgar Cancino for Relief From the Automatic Stay [Filed: 11/2/23] (Docket
         No. 1022)

         Response Deadline: December 5, 2023 at 4:00 p.m.

         Responses Received:

         A.        Debtors’ Amended and Restated Omnibus Objection to Personal Injury Claimant
                   Motions for Relief from the Automatic Stay Under Section 362 of the Bankruptcy
                   Code [Filed: 12/6/23] (Docket No. 1273)

         B.        Debtors’ Second Amended and Restated Omnibus Objection to Personal Injury
                   Claimant Motions for Relief From the Automatic Stay Under Section 362 of the
                   Bankruptcy Code [Filed: 1/11/23] (Docket No. 1730)

         Related Documents:

         A.        [Proposed] Order Granting Motion of Edgar Cancino for Relief From the
                   Automatic Stay [Filed: 11/2/23] (Docket No. 1022, Exhibit A)

         Status: This matter is continued until February 14, 2024, at 10:00 a.m. (ET).

21.      Motion of Alexis McCully for Relief from the Automatic Stay Pursuant to 11 U.S.C. §
         362 [Filed: 11/3/23] (Docket No. 1035)

         Response Deadline: November 27, 2023 at 4:00 p.m.

         Responses Received:

         A.        Debtors’ Amended and Restated Omnibus Objection to Personal Injury Claimant
                   Motions for Relief from the Automatic Stay Under Section 362 of the Bankruptcy
                   Code [Filed: 12/6/23] (Docket No. 1273)

         B.        Debtors’ Second Amended and Restated Omnibus Objection to Personal Injury
                   Claimant Motions for Relief From the Automatic Stay Under Section 362 of the
                   Bankruptcy Code [Filed: 1/11/23] (Docket No. 1730)

         Related Documents:

         A.        [Proposed] Order Granting Motion of Alexis McCully for Relief from the
                   Automatic Stay Pursuant to 11 U.S.C. § 362 [Filed: 11/3/23] (Docket No. 1035)

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         Status: This matter is continued until February 14, 2024, at 10:00 a.m. (ET).

22.      Motion of Jill Napiwocki for Relief From the Automatic Stay to the Extent of Liability
         Insurance [Filed: 11/8/23] (Docket No. 1062)

         Response Deadline: November 22, 2023 at 4:00 p.m.

         Responses Received:

         A.        Debtors’ Amended and Restated Omnibus Objection to Personal Injury Claimant
                   Motions for Relief from the Automatic Stay Under Section 362 of the Bankruptcy
                   Code [Filed: 12/6/23] (Docket No. 1273)

         B.        Debtors’ Second Amended and Restated Omnibus Objection to Personal Injury
                   Claimant Motions for Relief From the Automatic Stay Under Section 362 of the
                   Bankruptcy Code [Filed: 1/11/23] (Docket No. 1730)

         Related Documents:

         A.        [Proposed] Order Granting Phillip B. Deterding’s Motion for Relief from the
                   Automatic Stay [Filed: 11/8/23] (Docket No. 1062, Exhibit A)

         Status: This matter is continued until February 14, 2024, at 10:00 a.m. (ET).

23.      Motion of Delores Jones for Relief from the Automatic Stay Pursuant to Section 362(d)
         of the Bankruptcy Code [Filed: 11/20/23] (Docket No. 1181)

         Response Deadline: December 4, 2023 at 4:00 p.m.

         Responses Received:

         A.        Debtors’ Amended and Restated Omnibus Objection to Personal Injury Claimant
                   Motions for Relief from the Automatic Stay Under Section 362 of the Bankruptcy
                   Code [Filed: 12/6/23] (Docket No. 1273)

         B.        Debtors’ Second Amended and Restated Omnibus Objection to Personal Injury
                   Claimant Motions for Relief From the Automatic Stay Under Section 362 of the
                   Bankruptcy Code [Filed: 1/11/23] (Docket No. 1730)

         Related Documents:

         A.        [Proposed] Order Granting Motion of Delores Jones for Relief from the
                   Automatic Stay Pursuant to Section 362(d) of the Bankruptcy Code [Filed:
                   11/20/23] (Docket No. 1181)

         Status: This matter is continued until February 14, 2024, at 10:00 a.m. (ET).

24.      Debtors’ Objection to the Proofs of Claim Filed by the Central States Pension Fund
         [Filed: 12/8/23] (Docket No. 1322)

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         Response Deadline: December 22, 2023 at 4:00 p.m. (continued until January 19, 2024,
         at 4:00 p.m. (ET) for the Central States Pension Fund)

         Responses Received:

         A.        Limited Response of the Pension Benefit Guaranty Corporation to Objection of
                   the Debtors to the Proofs of Claim Filed By the Central States Pension Fund
                   [Filed: 1/8/24] (Docket No. 1630)

         B.        Central States Funds’ Response to Debtors’ Objections to the Funds’ Proofs of
                   Claims [Filed: 1/19/24] (Docket No. 1833)

         Related Documents:

         A.        Certification of Counsel Submitting Order Approving Stipulation Relating to the
                   Central States Claims Objection, Discovery Requests, And Motion To Compel
                   Arbitration [Filed: 1/17/24] (Docket No. 1772)

         B.        Order Approving Stipulation Relating to the Withdrawal Liability
                   Objection, Discovery Requests, and Motion to Compel Arbitration [Filed:
                   1/22/24] (Docket No. 1846)

         Status: This matter is continued until February 14, 2024, at 10:00 a.m. (ET).

25.      Motion of Leonel Ponce for Relief From the Automatic Stay [Filed: 12/12/23] (Docket
         No. 1344)

         Response Deadline: December 27, 2023 at 4:00 p.m.

         Responses Received:

         A.        Debtors’ Second Amended and Restated Omnibus Objection to Personal Injury
                   Claimant Motions for Relief From the Automatic Stay Under Section 362 of the
                   Bankruptcy Code [Filed: 1/11/23] (Docket No. 1730)

         Related Documents:

         A.        [Proposed] Order Granting Motion of Leonel Ponce for Relief From the
                   Automatic Stay [Filed: 12/12/23] (Docket No. 1344)

         Status: This matter is continued until February 14, 2024, at 10:00 a.m. (ET).

26.      Motion of Trane Technologies Company, LLC for Relief from the Automatic Stay to the
         Extent of Available Insurance Proceeds [Filed: 12/15/23] (Docket No. 1377)

         Response Deadline: December 29, 2023 at 4:00 p.m.

         Responses Received:


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         A.        Debtors’ Objection to Motion of Trane Technologies Company, LLC for Relief
                   from the Automatic Stay to the Extent of Available Insurance Proceeds [Filed:
                   12/29/23] (Docket No. 1545)

         Related Documents:

         A.        [Proposed] Order Granting Motion of Trane Technologies Company, LLC for
                   Relief from the Automatic Stay to the Extent of Available Insurance Proceeds
                   [Filed: 12/15/23] (Docket No. 1377)

         Status: This matter is continued to a date to be determined.

27.      Motion of Yelimar Karina Sira Monsalve for Relief From the Stay [Filed: 12/21/23]
         (Docket No. 1408)

         Response Deadline: December 29, 2023 at 4:00 p.m.

         Responses Received:

         A.        Debtors’ Second Amended and Restated Omnibus Objection to Personal Injury
                   Claimant Motions for Relief From the Automatic Stay Under Section 362 of the
                   Bankruptcy Code [Filed: 1/11/23] (Docket No. 1730)

         Related Documents:

         A.        [Proposed] Order Granting Motion of Yelimar Karina Sira Monsalve for Relief
                   From the Stay [Filed: 12/21/23] (Docket No. 1408)

         Status: This matter is continued until February 14, 2024, at 10:00 a.m. (ET).

28.      Amended Motion of Aaron Misquez for Relief from the Automatic Stay Pursuant to
         Section 362(d) of the Bankruptcy Code [Filed: 12/28/23] (Docket No. 1506)

         Response Deadline: December 28, 2023 at 4:00 p.m.

         Responses Received:

         A.        Debtors’ Second Amended and Restated Omnibus Objection to Personal Injury
                   Claimant Motions for Relief From the Automatic Stay Under Section 362 of the
                   Bankruptcy Code [Filed: 1/11/23] (Docket No. 1730)

         Related Documents:

         A.        [Proposed] Order Granting Motion of Aaron Misquez for Relief from the
                   Automatic Stay Pursuant to Section 362(d) of the Bankruptcy Code [Filed:
                   12/28/23] (Docket No. 1506, Exhibit A)

         Status: This matter is continued until February 14, 2024, at 10:00 a.m. (ET).


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29.      Claimant’s Motion for Relief From the Stay [Filed by Kevin Cook] [Filed: 1/4/24]
         (Docket No. 1590)

         Response Deadline: January 15, 2024 at 4:00 p.m.

         Responses Received:

         A.        Debtors’ Second Amended and Restated Omnibus Objection to Personal Injury
                   Claimant Motions for Relief From the Automatic Stay Under Section 362 of the
                   Bankruptcy Code [Filed: 1/11/23] (Docket No. 1730)

         Related Documents:

         A.        [Proposed] Order Granting Motion for Relief From the Automatic Stay [Filed
                   1/4/24] (Docket No. 1590)

         Status: This matter is continued until February 14, 2024, at 10:00 a.m. (ET).

30.      Central States Pension Fund’s Motion to Compel Arbitration of Withdrawal Liability
         Disputes, or Alternatively, for Relief from the Automatic Stay to Initiate Arbitration
         [Filed: 1/8/24] (Docket No. 1665)

         Response Deadline: January 16, 2024 at 4:00 p.m. (extended until January 26, 2024 at)
         for the Debtors)

         Responses Received: None.

         Related Documents:

         A.        [Proposed] Order Granting the Central States Pension Fund’s Motion to Compel
                   Arbitration of Withdrawal Liability Disputes, or Alternatively, for Relief from the
                   Automatic Stay to Initiate Arbitration [Filed: 1/8/24] (Docket No. 1665)

         B.        Certification of Counsel Submitting Order Approving Stipulation Relating to the
                   Central States Claims Objection, Discovery Requests, And Motion To Compel
                   Arbitration [Filed: 1/17/24] (Docket No. 1772)

         C.        Order Approving Stipulation Relating to the Withdrawal Liability
                   Objection, Discovery Requests, and Motion to Compel Arbitration [Filed:
                   1/22/24] (Docket No. 1846)

         Status: This matter is continued until February 14, 2024, at 10:00 a.m. (ET).

MATTERS GOING FORWARD:

31.      Motion of Lawrence Nowicki for Relief from the Automatic Stay Pursuant to 11 U.S.C. §
         362(d) of the Bankruptcy [Filed: 9/26/23] (Docket No. 659)



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         Response Deadline: October 11, 2023 at 5:00 p.m. (ET) (extended until October 12,
         2023 at 4:00 p.m. (ET)

         Responses Received:

         A.        Omnibus Objection and Reservation of Rights of Creditor Old Republic Insurance
                   Company to Motions for Relief from the Automatic Stay to the Extent of
                   Insurance Proceeds [Filed: 10/12/23] (Docket No. 823)

         B.        Debtors’ Omnibus Objection to Personal Injury Claimant Motions for Relief from
                   the Automatic Stay Under Section 362 of the Bankruptcy Code [Filed: 10/12/23]
                   (Docket No. 827)

         C.        Joinder of the Official Committee of Unsecured Creditors of Yellow Corporation,
                   Et Al., to Debtors’ Omnibus Objection to Personal Injury Claimant Motions for
                   Relief From the Automatic Stay Under Section 362 of the Bankruptcy Code [Filed
                   10/20/23] (Docket No. 886)

         D.        Debtors’ Amended and Restated Omnibus Objection to Personal Injury Claimant
                   Motions for Relief from the Automatic Stay Under Section 362 of the Bankruptcy
                   Code [Filed: 12/6/23] (Docket No. 1273)

         E.        Debtors’ Second Amended and Restated Omnibus Objection to Personal Injury
                   Claimant Motions for Relief From the Automatic Stay Under Section 362 of the
                   Bankruptcy Code [Filed: 1/11/23] (Docket No. 1730)

         Related Documents:

         A.        [Proposed] Order Granting Motion of Lawrence Nowicki for Relief from the
                   Automatic Stay Pursuant to 11 U.S.C. § 362(d) of the Bankruptcy [Filed: 9/26/23]
                   (Docket No. 659)

         B.        [Signed] Order Approving the Joint Stipulation By and Among the Debtors and
                   Lawrence Nowicki to (I) Extend the Deadline to Respond to Motion to Lift the
                   Automatic Stay and (II) Extend the Hearing Date Related Thereto [Filed: 10/6/23]
                   (Docket No. 780)

         C.        Debtors’ Exhibit List for Hearing on January 22, 2024 at 2:00 p.m. (ET) [Filed:
                   1/18/24] (Docket No. 1810)

         Status: This matter is continued until February 14, 2024, at 10:00 a.m. (ET).

32.      Motion of Jimmie and Janel Hubert for Relief from the Automatic Stay Pursuant to 11
         U.S.C. § 362 [Filed: 10/4/23] (Docket No. 758)

         Response Deadline: October 16, 2023 at 5:00 p.m. (ET)




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         Responses Received:

         A.        Omnibus Objection and Reservation of Rights of Creditor Old Republic Insurance
                   Company to Motions for Relief from the Automatic Stay to the Extent of
                   Insurance Proceeds [Filed: 10/12/23] (Docket No. 823)

         B.        Debtors’ Omnibus Objection to Personal Injury Claimant Motions for Relief from
                   the Automatic Stay Under Section 362 of the Bankruptcy Code [Filed: 10/12/23]
                   (Docket No. 827)

         C.        Joinder of the Official Committee of Unsecured Creditors of Yellow Corporation,
                   Et Al., to Debtors’ Omnibus Objection to Personal Injury Claimant Motions for
                   Relief From the Automatic Stay Under Section 362 of the Bankruptcy Code
                   [Filed 10/20/23] (Docket No. 886)

         D.        Debtors’ Amended and Restated Omnibus Objection to Personal Injury Claimant
                   Motions for Relief from the Automatic Stay Under Section 362 of the Bankruptcy
                   Code [Filed: 12/6/23] (Docket No. 1273)

         E.        Debtors’ Second Amended and Restated Omnibus Objection to Personal Injury
                   Claimant Motions for Relief From the Automatic Stay Under Section 362 of the
                   Bankruptcy Code [Filed: 1/11/23] (Docket No. 1730)

         Replies Received:

         A.        Reply of Jimmie and Janel Hubert in Support of Relief From the Automatic Stay
                   [Filed: 1/17/23] (Docket No. 1770)

         Related Documents:

         A.        [Proposed] Order Granting Motion of Jimmie and Janel Hubert for Relief from
                   the Automatic Stay Pursuant to 11 U.S.C. § 362 [Filed: 10/4/23] (Docket No.
                   758)

         B.        Debtors’ Exhibit List for Hearing on January 22, 2024 at 2:00 p.m. (ET) [Filed:
                   1/18/24] (Docket No. 1810)

         C.        Amended Debtors’ Exhibit List for Hearing on January 22, 2024 at 2:00 p.m.
                   (ET) [Filed: 1/19/24] (Docket No. 1834)

         Status: This matter is continued until February 14, 2024, at 10:00 a.m. (ET).

33.      Motion of Donna Lee Daugherty for Order Pursuant to Section 362(d) of the Bankruptcy
         Code, Bankruptcy Rule 4001 and Local Bankruptcy Rule 4001-1 Modifying the
         Automatic Stay to Allow Continuation of the Wrongful Death Litigation [Filed: 10/5/23]
         (Docket No. 770)

         Response Deadline: October 16, 2023 at 5:00 p.m. (ET)


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         Responses Received:

         A.        Omnibus Objection and Reservation of Rights of Creditor Old Republic Insurance
                   Company to Motions for Relief from the Automatic Stay to the Extent of
                   Insurance Proceeds [Filed: 10/12/23] (Docket No. 823)

         B.        Debtors’ Omnibus Objection to Personal Injury Claimant Motions for Relief from
                   the Automatic Stay Under Section 362 of the Bankruptcy Code [Filed: 10/12/23]
                   (Docket No. 827)

         C.        Joinder of the Official Committee of Unsecured Creditors of Yellow Corporation,
                   Et Al., to Debtors’ Omnibus Objection to Personal Injury Claimant Motions for
                   Relief From the Automatic Stay Under Section 362 of the Bankruptcy Code
                   [Filed 10/20/23] (Docket No. 886)

         D.        Debtors’ Amended and Restated Omnibus Objection to Personal Injury Claimant
                   Motions for Relief from the Automatic Stay Under Section 362 of the Bankruptcy
                   Code [Filed: 12/6/23] (Docket No. 1273)

         E.        Debtors’ Second Amended and Restated Omnibus Objection to Personal Injury
                   Claimant Motions for Relief From the Automatic Stay Under Section 362 of the
                   Bankruptcy Code [Filed: 1/11/23] (Docket No. 1730)

         Related Documents:

         A.        [Proposed] Order Granting Motion of Donna Lee Daugherty for Order Pursuant to
                   Section 362(d) of the Bankruptcy Code, Bankruptcy Rule 4001 and Local
                   Bankruptcy Rule 4001-1 Modifying the Automatic Stay to Allow Continuation of
                   the Wrongful Death Litigation [Filed: 10/5/23] (Docket No. 770, Exhibit A)

         B.        Debtors’ Exhibit List for Hearing on January 22, 2024 at 2:00 p.m. (ET) [Filed:
                   1/18/24] (Docket No. 1810)

         C.        Amended Debtors’ Exhibit List for Hearing on January 22, 2024 at 2:00 p.m.
                   (ET) [Filed: 1/19/24] (Docket No. 1834)

         Status: This matter is continued until February 14, 2024, at 10:00 a.m. (ET).

34.      Motion of Anthony Martino for Orders Granting Relief From the Automatic Stay [Filed:
         10/7/23] (Docket No. 789)

         Response Deadline: October 16, 2023 at 5:00 p.m. (ET)




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         Responses Received:

         A.        Omnibus Objection and Reservation of Rights of Creditor Old Republic Insurance
                   Company to Motions for Relief from the Automatic Stay to the Extent of
                   Insurance Proceeds [Filed: 10/12/23] (Docket No. 823)

         B.        Debtors’ Omnibus Objection to Personal Injury Claimant Motions for Relief from
                   the Automatic Stay Under Section 362 of the Bankruptcy Code [Filed: 10/12/23]
                   (Docket No. 827)

         C.        Joinder of the Official Committee of Unsecured Creditors of Yellow Corporation,
                   Et Al., to Debtors’ Omnibus Objection to Personal Injury Claimant Motions for
                   Relief From the Automatic Stay Under Section 362 of the Bankruptcy Code
                   [Filed 10/20/23] (Docket No. 886)

         D.        Debtors’ Amended and Restated Omnibus Objection to Personal Injury Claimant
                   Motions for Relief from the Automatic Stay Under Section 362 of the Bankruptcy
                   Code [Filed: 12/6/23] (Docket No. 1273)

         E.        Debtors’ Second Amended and Restated Omnibus Objection to Personal Injury
                   Claimant Motions for Relief From the Automatic Stay Under Section 362 of the
                   Bankruptcy Code [Filed: 1/11/23] (Docket No. 1730)

         Related Documents:

         A.        [Proposed] Order Granting Motion of Anthony Martino For Orders Granting
                   Relief From the Automatic Stay [Filed: 10/7/23] (Docket No. 789, Exhibit A)

         B.        [Proposed] Order Partially Granting Motion of Anthony Martino and Granting
                   Limited Interim Relief From the Automatic Stay [Filed: 10/7/23] (Docket No.
                   789, Exhibit B)

         C.        Debtors’ Exhibit List for Hearing on January 22, 2024 at 2:00 p.m. (ET) [Filed:
                   1/18/24] (Docket No. 1810)

         Status: This matter is continued until February 14, 2024, at 10:00 a.m. (ET).

35.      Motion of Jason E. Ellis for Relief from the Automatic Stay Pursuant to 11 U.S.C. §
         362(d) of the Bankruptcy Code [Filed: 10/13/23] (Docket No. 829)

         Response Deadline: October 30, 2023 at 4:00 p.m. (ET) (extended until December 5,
         2023 at 4:00 p.m. (ET))




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         Responses Received:

         A.        Debtors’ Amended and Restated Omnibus Objection to Personal Injury Claimant
                   Motions for Relief from the Automatic Stay Under Section 362 of the Bankruptcy
                   Code [Filed: 12/6/23] (Docket No. 1273)

         B.        Debtors’ Second Amended and Restated Omnibus Objection to Personal Injury
                   Claimant Motions for Relief From the Automatic Stay Under Section 362 of the
                   Bankruptcy Code [Filed: 1/11/23] (Docket No. 1730)

         Replies Received:

         A.        Reply in Further Support of Motion of Jason E. Ellis for Relief From the
                   Automatic Stay Pursuant to 11 U.S.C. § 362(d) of the Bankruptcy Code [Filed:
                   1/12/24] (Docket No. 1741)

         Related Documents:

         A.        [Proposed] Order Granting Motion of Jason E. Ellis for Relief from the Automatic
                   Stay Pursuant to 11 U.S.C. § 362(d) of the Bankruptcy Code [Filed: 10/13/23]
                   (Docket No. 829)

         B.        Debtors’ Exhibit List for Hearing on January 22, 2024 at 2:00 p.m. (ET) [Filed:
                   1/18/24] (Docket No. 1810)

         C.        Amended Debtors’ Exhibit List for Hearing on January 22, 2024 at 2:00 p.m.
                   (ET) [Filed: 1/19/24] (Docket No. 1834)

         Status: The parties will prepare a stipulation regarding this matter. This matter is
         continued until February 14, 2024, at 10:00 a.m. (ET).

36.      Jose Emilio Ronderos’ Motion for Relief From the Automatic Stay [Filed: 10/19/23]
         (Docket No. 877)

         Response Deadline: November 6, 2023 at 4:00 p.m. (ET) (extended until December 5,
         2023 at 4:00 p.m. (ET) for the Debtors)

         Responses Received:

         A.        Omnibus Objection and Reservation of Rights of Creditor Old Republic Insurance
                   Company to Motions for Relief From the Automatic Stay to the Extent of
                   Insurance Proceeds [Filed: 11/9/23] (Docket No. 1106)

         B.        Debtors’ Amended and Restated Omnibus Objection to Personal Injury Claimant
                   Motions for Relief from the Automatic Stay Under Section 362 of the Bankruptcy
                   Code [Filed: 12/6/23] (Docket No. 1273)




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         C.        Debtors’ Second Amended and Restated Omnibus Objection to Personal Injury
                   Claimant Motions for Relief From the Automatic Stay Under Section 362 of the
                   Bankruptcy Code [Filed: 1/11/23] (Docket No. 1730)

         Related Documents:

         A.        [Proposed] Order Granting Jose Emilio Ronderos’ Motion for Relief From the
                   Automatic Stay [Filed: 10/19/23] (Docket No. 877)

         B.        Debtors’ Exhibit List for Hearing on January 22, 2024 at 2:00 p.m. (ET) [Filed:
                   1/18/24] (Docket No. 1810)

         Status: This matter is continued until February 14, 2024, at 10:00 a.m. (ET).

37.      Sopia L. Goodman’s Motion for Relief From the Automatic Stay [Filed: 10/19/23]
         (Docket No. 879)

         Response Deadline: October 28, 2023 at 4:00 p.m. (ET) (extended until December 5,
         2023 at 4:00 p.m. (ET) for the Debtors)

         Responses Received:

         A.        Omnibus Objection and Reservation of Rights of Creditor Old Republic Insurance
                   Company to Motions for Relief From the Automatic Stay to the Extent of
                   Insurance Proceeds [Filed: 11/9/23] (Docket No. 1106)

         B.        Debtors’ Amended and Restated Omnibus Objection to Personal Injury Claimant
                   Motions for Relief from the Automatic Stay Under Section 362 of the Bankruptcy
                   Code [Filed: 12/6/23] (Docket No. 1273)

         C.        Debtors’ Second Amended and Restated Omnibus Objection to Personal Injury
                   Claimant Motions for Relief From the Automatic Stay Under Section 362 of the
                   Bankruptcy Code [Filed: 1/11/23] (Docket No. 1730)

         Related Documents:

         A.        [Proposed] Order Sopia L. Goodman’s Motion for Relief From the Automatic
                   Stay to Pursue Non-Bankruptcy Litigation [Filed: 10/19/23] (Docket No. 879)

         B.        Debtors’ Exhibit List for Hearing on January 22, 2024 at 2:00 p.m. (ET) [Filed:
                   1/18/24] (Docket No. 1810)

         C.        Amended Debtors’ Exhibit List for Hearing on January 22, 2024 at 2:00 p.m.
                   (ET) [Filed: 1/19/24] (Docket No. 1834)

         Status: This matter is continued until February 14, 2024, at 10:00 a.m. (ET).




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38.      James Alexander and Lisa Alexander Motion for Relief From the Automatic Stay [Filed:
         10/23/23] (Docket No. 903)

         Response Deadline: November 6, 2023 at 4:00 p.m. (ET) (extended until December 5,
         2023 at 4:00 p.m. (ET))

         Responses Received:

         A.        Debtors’ Amended and Restated Omnibus Objection to Personal Injury Claimant
                   Motions for Relief from the Automatic Stay Under Section 362 of the Bankruptcy
                   Code [Filed: 12/6/23] (Docket No. 1273)

         B.        Debtors’ Second Amended and Restated Omnibus Objection to Personal Injury
                   Claimant Motions for Relief From the Automatic Stay Under Section 362 of the
                   Bankruptcy Code [Filed: 1/11/23] (Docket No. 1730)

         Related Documents:

         A.        [Proposed] Order [Filed: 10/23/23] (Docket No. 903)

         B.        Re-Notice of Hearing of Motion of James Alexander and Lisa Alexander for
                   Relief From the Automatic Stay [Filed: 11/3/23] (Docket No. 1034)

         C.        Re-Notice of Hearing of Motion of James Alexander and Lisa Alexander for
                   Relief From the Automatic Stay [Filed: 11/7/23] (Docket No. 1052)

         D.        Debtors’ Exhibit List for Hearing on January 22, 2024 at 2:00 p.m. (ET) [Filed:
                   1/18/24] (Docket No. 1810)

         Status: This matter is continued until February 14, 2024, at 10:00 a.m. (ET).

39.      Motion of Seung Chung for Order Granting Relief From The Automatic Stay [Filed:
         10/27/23] (Docket No. 984)

         Response Deadline: November 6, 2023 at 4:00 p.m. (ET) (extended until December 5,
         2023 at 4:00 p.m. (ET))

         Responses Received:

         A.        Debtors’ Amended and Restated Omnibus Objection to Personal Injury Claimant
                   Motions for Relief from the Automatic Stay Under Section 362 of the Bankruptcy
                   Code [Filed: 12/6/23] (Docket No. 1273)

         B.        Debtors’ Second Amended and Restated Omnibus Objection to Personal Injury
                   Claimant Motions for Relief From the Automatic Stay Under Section 362 of the
                   Bankruptcy Code [Filed: 1/11/23] (Docket No. 1730)

         Related Documents:


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         A.        [Proposed] Order Granting Motion of Seung Chung for Order Granting Relief
                   From The Automatic Stay [Filed: 10/27/23] (Docket No. 984)

         B.        Debtors’ Exhibit List for Hearing on January 22, 2024 at 2:00 p.m. (ET) [Filed:
                   1/18/24] (Docket No. 1810)

         Status: This matter is continued until February 14, 2024, at 10:00 a.m. (ET).

40.      Motion of Ahmed Elsamady for Relief From the Automatic Stay Pursuant to 11 U.S.C. §
         362(d) of the Bankruptcy Code [Filed: 11/3/23] (Docket No. 1028)

         Response Deadline: December 5, 2023 at 4:00 p.m.

         Responses Received:

         A.        Debtors’ Amended and Restated Omnibus Objection to Personal Injury Claimant
                   Motions for Relief from the Automatic Stay Under Section 362 of the Bankruptcy
                   Code [Filed: 12/6/23] (Docket No. 1273)

         B.        Debtors’ Second Amended and Restated Omnibus Objection to Personal Injury
                   Claimant Motions for Relief From the Automatic Stay Under Section 362 of the
                   Bankruptcy Code [Filed: 1/11/23] (Docket No. 1730)

         Related Documents:

         A.        [Proposed] Order Granting Motion of Ahmed Elsamady for Relief From the
                   Automatic Stay Pursuant to 11 U.S.C. § 362(d) of the Bankruptcy Code [Filed:
                   11/3/23] (Docket No. 1028)

         B.        Debtors’ Exhibit List for Hearing on January 22, 2024 at 2:00 p.m. (ET) [Filed:
                   1/18/24] (Docket No. 1810)

         Status: This matter is continued until February 14, 2024, at 10:00 a.m. (ET).

41.      Phillip B. Deterding’s Motion for Relief from the Automatic Stay [Filed: 11/3/23]
         (Docket No. 1037)

         Response Deadline: November 27, 2023 at 4:00 p.m.

         Responses Received:

         A.        Debtors’ Amended and Restated Omnibus Objection to Personal Injury Claimant
                   Motions for Relief from the Automatic Stay Under Section 362 of the Bankruptcy
                   Code [Filed: 12/6/23] (Docket No. 1273)




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         B.        Debtors’ Second Amended and Restated Omnibus Objection to Personal Injury
                   Claimant Motions for Relief From the Automatic Stay Under Section 362 of the
                   Bankruptcy Code [Filed: 1/11/23] (Docket No. 1730)

         C.        Amended Debtors’ Exhibit List for Hearing on January 22, 2024 at 2:00 p.m.
                   (ET) [Filed: 1/19/24] (Docket No. 1834)

         Related Documents:

         A.        [Proposed] Order Granting Phillip B. Deterding’s Motion for Relief from the
                   Automatic Stay [Filed: 11/3/23] (Docket No. 1037, Exhibit A)

         B.        Debtors’ Exhibit List for Hearing on January 22, 2024 at 2:00 p.m. (ET) [Filed:
                   1/18/24] (Docket No. 1810)

         Status: This matter is continued until February 14, 2024, at 10:00 a.m. (ET).

42.      Motion of Derek Hall For Relief From The Automatic Stay to the Extent of Liability
         Insurance [Filed: 11/10/23] (Docket No. 1118)

         Response Deadline: November 27, 2023 at 4:00 p.m.

         Responses Received:

         A.        Debtors’ Amended and Restated Omnibus Objection to Personal Injury Claimant
                   Motions for Relief from the Automatic Stay Under Section 362 of the Bankruptcy
                   Code [Filed: 12/6/23] (Docket No. 1273)

         B.        Debtors’ Second Amended and Restated Omnibus Objection to Personal Injury
                   Claimant Motions for Relief From the Automatic Stay Under Section 362 of the
                   Bankruptcy Code [Filed: 1/11/23] (Docket No. 1730)

         Related Documents:

         A.        [Proposed] Order Granting Motion for Relief From the Automatic Stay to the
                   Extend of Liability Insurance Proceeds [Filed: 11/10/23] (Docket No. 1118)

         B.        Debtors’ Exhibit List for Hearing on January 22, 2024 at 2:00 p.m. (ET) [Filed:
                   1/18/24] (Docket No. 1810)

         C.        Amended Debtors’ Exhibit List for Hearing on January 22, 2024 at 2:00 p.m.
                   (ET) [Filed: 1/19/24] (Docket No. 1834)

         Status: This matter is continued until February 14, 2024, at 10:00 a.m. (ET).




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43.      Motion of Nations Fund I, LLC for (I) Relief from the Automatic Stay to Terminate
         Lease and Recover Trailers; (II) Adequate Protection; and (III) Allowance and Payment
         of Administrative Expense Claim [Filed: 11/16/23] (Docket No. 1160)

         Response Deadline: December 1, 2023 at 4:00 p.m.

         Responses Received: None.

         Related Documents:

         A.        [Proposed] Order Granting Motion of Nations Fund I, LLC for (I) Relief from the
                   Automatic Stay to Terminate Lease and Recover Trailers; (II) Adequate
                   Protection; and (III) Allowance and Payment of Administrative Expense Claim
                   [Filed: 11/16/23] (Docket No. 1160)

         Status: This matter is continued until February 14, 2024, at 10:00 a.m. (ET).

44.      Motion for Relief From the Automatic Stay [Filed by Paul Edward Fowler] [Filed:
         11/17/23] (Docket No. 1169)

         Response Deadline: December 5, 2023 at 4:00 p.m.

         Responses Received:

         A.        Debtors’ Amended and Restated Omnibus Objection to Personal Injury Claimant
                   Motions for Relief from the Automatic Stay Under Section 362 of the Bankruptcy
                   Code [Filed: 12/6/23] (Docket No. 1273)

         B.        Debtors’ Second Amended and Restated Omnibus Objection to Personal Injury
                   Claimant Motions for Relief From the Automatic Stay Under Section 362 of the
                   Bankruptcy Code [Filed: 1/11/23] (Docket No. 1730)

         Related Documents:

         A.        [Proposed] Order Granting Paul Edward Fowler’s Motion for Relief From the
                   Automatic Stay to Pursue Non-Bankruptcy Litigation [Filed: 11/17/23] (Docket
                   No. 1169)

         B.        Debtors’ Exhibit List for Hearing on January 22, 2024 at 2:00 p.m. (ET) [Filed:
                   1/18/24] (Docket No. 1810)

         C.        Amended Debtors’ Exhibit List for Hearing on January 22, 2024 at 2:00 p.m.
                   (ET) [Filed: 1/19/24] (Docket No. 1834)

         Status: This matter is continued until February 14, 2024, at 10:00 a.m. (ET).

45.      Motion of Debtors to Establish Alternative Dispute Resolution Procedures for Resolution
         of Certain Litigation Claims and for Related Relief [Filed: 12/11/23] (Docket No. 1329)


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         Response Deadline: December 26, 2023 at 4:00 p.m.

         Responses Received:

         A.        Objection of Aaron Misquez to the Motion of Debtors to Establish Alternative
                   Dispute Resolution Procedures for Resolution of Certain Litigation Claims and
                   for Related Relief [Filed: 12/16/23] (Docket No. 1486)

         B.        Limited Objection of Creditors Hagop Kouloujian, Aram Kouloujian and Daniela
                   Gaito to the Motion of Debtors to Establish Alternative Dispute Resolution
                   Procedures for Resolution of Certain Litigation Claims and for Related Relief
                   [Filed: 12/26/23] (Docket No. 1487)

         C.        Joinder of Anne-Celeste Openshaw to Objection of Aaron Misquez to the Motion
                   of Debtors to Establish Alternative Dispute Resolution Procedures for Resolution
                   of Certain Litigation Claims and for Related Relief [Filed: 12/26/23] (Docket No.
                   1489)

         D.        Emily Louro’s Joinder to Objections to the Motion of Debtors to Establish
                   Alternative Dispute Resolution Procedures for Resolution of Certain Litigation
                   Claims and for Related Relief [Filed: 12/26/23] (Docket No. 1490)

         E.        Joinder to Objection to the Motion of Debtors to Establish Alternative Dispute
                   Resolution Procedures for Resolution of Certain Litigation Claims and for Related
                   Relief [Filed: 12/27/23] (Docket No. 1492)

         F.        (I) Omnibus Objection of Creditors Kasha Ferguson, Ruben R. Rodriguez, And
                   Bobby Grissom to the Debtors’ Motion to Establish Alternative Dispute
                   Resolution Procedures for Resolution of Certain Litigation Claims and for Related
                   Relief and (II) Joinder to the Objections Filed by Other Parties [Filed: 1/2/24]
                   (Docket No. 1554)

         G.        Joinder and Objection of Paul Clark and Jean Clark to Debtors’ Motion to
                   Establish Alternative Dispute Resolution Procedures for Resolution of Certain
                   Litigation Claims and for Related Relief [Filed: 1/3/24] (Docket No. 1580)

         H.        Joinder and Objection of Jill Napiwocki to Debtors’ Motion to Establish
                   Alternative Dispute Resolution Procedures for Resolution of Certain Litigation
                   Claims and for Related Relief [Filed: 1/3/24] (Docket No. 1581)

         I.        Joinder and Objection of James Charles Howard to Debtors’ Motion to Establish
                   Alternative Dispute Resolution Procedures for Resolution of Certain Litigation
                   Claims and for Related Relief [Filed: 1/3/24] (Docket No. 1582)

         J.        Joinder and Objection of Brett Groves to Debtors’ Motion to Establish Alternative
                   Dispute Resolution Procedures for Resolution of Certain Litigation Claims and
                   for Related Relief [Filed: 1/3/24] (Docket No. 1583)


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         K.        Objection of Link Logistics Real Estate Management LLC, Breit Industrial
                   Canyon GA1B01 LLC, GPT Elkridge Terminal Owner LLC, GPT Deer Park
                   Terminal Owner LLC, and GPT Orlando Terminal Owner LLC to Motion of
                   Debtors to Establish Alternative Dispute Resolution Procedures for Resolution of
                   Certain Litigation Claims and for Related Relief [Filed: 1/3/24] (Docket No.
                   1585)

         L.        Joinder of Jesse Isreal Newton to Objections to the Motion of Debtors to Establish
                   Alternative Dispute Resolution Procedures for Resolution of Certain Litigation
                   Claims and Equitable Relief [Filed: 1/5/24] (Docket No. 1611)

         M.        Joinder of Leonel Ponce to Objections to the Motion of Debtors to Establish
                   Alternative Dispute Resolution Procedures for Resolution of Certain Litigation
                   Claims and Equitable Relief [Filed: 1/5/24] (Docket No. 1612)

         N.        Joinder of Yelimar Karina Sira Monsalve to Objections to the Motion of Debtors
                   to Establish Alternative Dispute Resolution Procedures for Resolution of Certain
                   Litigation Claims and Equitable Relief [Filed: 1/5/24] (Docket No. 1613)

         O.        Joinder of Laureen Waters-Ocasio to Objections to the Motion of Debtors to
                   Establish Alternative Dispute Resolution Procedures for Resolution of Certain
                   Litigation Claims and Equitable Relief [Filed: 1/5/24] (Docket No. 1614)

         P.        Joinder of Usholl (MI) LLC to Objection of Link Logistics Real Estate
                   Management LLC, Breit Industrial Canyon GA1B01 LLC, GPT Elkridge
                   Terminal Owner LLC, GPT Deer Park Terminal Owner LLC, and GPT Orlando
                   Terminal Owner LLC to Motion of the Debtors to Establish Alternative Dispute
                   Resolution Procedures for Resolution of Certain Litigation Claims and for Related
                   Relief [Filed: 1/5/24] (Docket No. 1626)

         Q.        Joinder and Objection of Anthony Martino to Debtors’ Motion to Establish
                   Alternative Dispute Resolution Procedures for Resolution of Certain Litigation
                   Claims and for Related Relief [Filed: 1/8/24] (Docket No. 1631)

         R.        Joinder and Objection of Paul Wyszynski, Susan Degenkolb, William Littral,
                   Shane and Carla Maria Snider and Delores Jones to Debtors’ Motion to Establish
                   Alternative Dispute Resolution Procedures for Resolution of Certain Litigation
                   Claims and for Related Relief [Filed: 1/8/24] (Docket No. 1632)

         S.        Joinder and Objection of Phillip B. Deterding to Debtors’ Motion to Establish
                   Alternative Dispute Resolution Procedures for Resolution of Certain Litigation
                   Claims and for Related Relief [Filed: 1/8/24] (Docket No. 1635)

         T.        Joinder of Kevin Cook to Objections to the Motion of Debtors to Establish
                   Alternative Dispute Resolution Procedures for the Resolution of Certain
                   Litigation Claims and Equitable Relief [Filed: 1/10/24] (Docket No. 1718)



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         U.        Informal Joinder of Gary W. Gibby to Objections to the Motion to Establish
                   Alternative Dispute Resolution Procedures [Filed: TBD] (Docket No. TBD)

         V.        Informal Joinder of Ricky Lambert to Objections to the Motion to Establish
                   Alternative Dispute Resolution Procedures [Filed: TBD] (Docket No. TBD)

         Replies Received:

         A.        Reply of the Chubb Companies to Objections to Motion of the Debtors to
                   Establish Alternative Dispute Resolution Procedures for Resolution of Certain
                   Litigation Claims and for Related Relief [Filed: 1/17/24] (Docket No. 1774)

         Related Documents:

         A.        [Proposed] Order Authorizing the Debtors to Establish Alternative Dispute
                   Resolution Procedures for Resolution of Certain Litigation Claims and for Related
                   Relief [Filed: 12/11/23] (Docket No. 1329, Exhibit A)

         B         Notice of (1) Filing of Revised Interim Proposed Alternative Dispute Resolution
                   Procedures for Resolution of Certain Litigation Claims and Granting Related
                   Relief; and (2) Continuance of Hearing on ADR Procedures to February 14, 2024
                   [filed: 1/18/24] (Docket No. 1817)

         Status: This matter is continued until February 14, 2024, at 10:00 a.m. (ET).

46.      Tariq Osman’s Motion for Relief From the Automatic Stay [Filed: 1/5/24] (Docket No.
         1622)

         Response Deadline: January 15, 2024 at 4:00 p.m.

         Responses Received:

         A.        Debtors’ Second Amended and Restated Omnibus Objection to Personal Injury
                   Claimant Motions for Relief From the Automatic Stay Under Section 362 of the
                   Bankruptcy Code [Filed: 1/11/23] (Docket No. 1730)

         Related Documents:

         A.        [Proposed] Order Granting Tariq Osman’s Motion for Relief From the Automatic
                   Stay [Filed: 1/5/24] (Docket No. 1622)

         B.        Debtors’ Exhibit List for Hearing on January 22, 2024 at 2:00 p.m. (ET) [Filed:
                   1/18/24] (Docket No. 1810)

         C.        Amended Debtors’ Exhibit List for Hearing on January 22, 2024 at 2:00 p.m.
                   (ET) [Filed: 1/19/24] (Docket No. 1834)

         Status: This matter is continued until February 14, 2024, at 10:00 a.m. (ET).


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47.      Alejandro Vizcaino’s Motion for Relief From the Automatic Stay Under 11 U.S.C. §
         362(d) of the Bankruptcy Code [Filed: 1/8/24] (Docket No. 1661)

         Response Deadline: January 15, 2024 at 4:00 p.m.

         Responses Received:

         A.        Debtors’ Second Amended and Restated Omnibus Objection to Personal Injury
                   Claimant Motions for Relief From the Automatic Stay Under Section 362 of the
                   Bankruptcy Code [Filed: 1/11/23] (Docket No. 1730)

         Related Documents:

         A.        Debtors’ Exhibit List for Hearing on January 22, 2024 at 2:00 p.m. (ET) [Filed:
                   1/18/24] (Docket No. 1810)

         B.        Amended Debtors’ Exhibit List for Hearing on January 22, 2024 at 2:00 p.m.
                   (ET) [Filed: 1/19/24] (Docket No. 1834)

         Status: This matter will go forward.

QUARTERLY FEE APPLICATIONS:

48.      Quarterly fee applications are scheduled to go forward at this hearing. Attached hereto as
         Exhibit A is a complete list of the quarterly fee applications scheduled to be heard. The
         items listed on Exhibit A hereto correspond to the order of the fee applications, and
         documents related thereto, that were previously submitted to the Court, pursuant to the
         Court’s Chambers’ Procedures.

         Responses Received: None.

         Related Documents:

         A.        Certification of Counsel Regarding Omnibus Order Approving Interim Fee
                   Applications for Compensation and Reimbursement of Expenses [Filed:
                   1/19/24] (Docket No. 1838)

         Status: The Debtors have filed an omnibus interim fee order under certification of
         counsel.




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Dated: January 22, 2024
       Wilmington, Delaware


/s/ Peter J. Keane
Laura Davis Jones (DE Bar No. 2436)    Patrick J. Nash Jr., P.C. (admitted pro hac vice)
Timothy P. Cairns (DE Bar No. 4228)    David Seligman, P.C. (admitted pro hac vice)
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                                       Co-Counsel for the Debtors and Debtors in
                                       Possession




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